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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________

UNITED STATES OF AMERICA,
                                                                   ORDER
                            Plaintiff,
               -v-                                                 21-MJ-4062

MARK PHILLIPS,

                        Defendant(s).
____________________________________


       As required by the Due Process Protections Act [Pub. L. 116-182, 134 Stat. 894] and Fed.

R. Crim. P. 5(f)(1), the Court confirms the United States’ obligation to produce all exculpatory

evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and

orders it to do so. The government must make these “disclosures in sufficient time that the

defendant will have reasonable opportunity to act upon the information efficaciously.” United

States v. Rodriquez, 496 F.3d 221, 226 (2d Cir. 2007); Leka v. Portuondo, 257 F.3d 89, 98 (2d Cir.

2001); United States v. Coppa, 267 F.3d 132 (2d Cir. 2001). Failure to do so may result in

consequences, including, but not limited to, exclusion of evidence, adverse jury instructions,

dismissal of charges, contempt proceedings, or sanctions by the Court.

IT IS SO ORDERED.


                                                            s/Marian W. Payson
                                                             Marian W. Payson
                                                            United States Magistrate

Dated: Rochester, New York
       May 7, 2021
